                  Case 2:18-cv-02188-JAD-EJY Document 24 Filed 03/20/20 Page 1 of 1

AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


Talitha Broughton,
                                                       JUDGMENT IN A CIVIL CASE
                                Plaintiff,
         v.                                            Case Number: 2:18-cv-02188-JAD-EJY
Andrew Saul, Acting Commissioner of
Social Security

                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
that judgment is entered in favor of the Defendant and against the Plaintiff.




         03/20/20
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ A. Reyes
                                                             Deputy Clerk
